
PER CURIAM:
| ^Denied. Relator’s sentencing claim is not cognizable oh collateral review/ La. C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; see also State v. Cotton, 09-2397 (La. 10/15/10), 45 So.3d 1030. Moreover, relator has previously exhausted his right to state collateral review. See, e.g., State ex rel. *327Spellman v. State, 15-1255 (La. 1/15/16), 182 So.3d 963; State ex rel. Spellman v. State, 15-1613 (La. 1/15/16), 182 So.3d 963.
